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UNITED STATES OF AMERICA
Case No.

3°£2CRO139-M

V.
DARIUS WILLIAMS

INFORMATION
The United States Attorney Charges:
At all times material to the information:

Count One
Theft of United States Mail by a Postal Employee
(Violation of 18 U.S.C. § 1709)

On or about March 27, 2021, in the Dallas Division of the Northern District of
Texas, and elsewhere, defendant Darius Williams, a United States Postal Service
employee, did steal mail matter and any article or thing contained in the mail matter,
including a large number of United States Treasury stimulus checks, which had been

entrusted to the defendant for the purpose of being delivered by mail.

In violation of 18 U.S.C. § 1709.

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